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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



RUSSELL GALLAHER,

Plaintiff,                                                   Case No. 6:11-cv-163-Orl-31GJK


vs.
REDLINE RECOVERY SERVICES, LLC.,

Defendant.
_______________________________/


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



Dated: March 24, 2011                         Respectfully submitted,


                                              /s Andrew I. Glenn
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